Case 3:23-cv-01320-AMO   Document 71-10   Filed 11/07/24   Page 1 of 7




           Exhibit 6
            Case 3:23-cv-01320-AMO                          Document 71-10                  Filed 11/07/24              Page 2 of 7

                                                                                                                                           Exhibit 99.1




                                              UserTesting Reports Third Quarter 2022 Financial Results
                                        Record Third Quarter Revenue of $49.4 Million, Up 28% Year-Over-Year
San Francisco – October 27, 2022, UserTesting, Inc. (NYSE: USER), a leader in video-based human insight, today announced financial results for
the third quarter ended September 30, 2022. “We posted strong third quarter results including record total revenue, up 28% year-over-year,” said
Andy MacMillan, CEO of UserTesting. “Despite macroeconomic headwinds, we continue to execute on our path to profitability.”
Third Quarter 2022 Financial Highlights:
     • Revenue: Total revenue was $49.4 million, up 28% year-over-year. Subscription revenue was $47.5 million, up 32% year-over-year.
     • Operating Loss and Margin: GAAP operating loss was $(14.3) million, or (29)% of total revenue, compared to $(10.3) million, or (27)% of
          total revenue, in the same period last year. Non-GAAP operating loss was $(5.6) million, or (11)% of total revenue, compared to $(9.4)
          million, or (24)% of total revenue, in the same period last year.
     • Net Loss: GAAP net loss was $(15.2) million, or $(0.11) per share, compared to $(9.6) million, or $(0.49) per share, in the same period last
          year. Non-GAAP net loss was $(6.4) million, or $(0.04) per share, compared to $(8.7) million, or $(0.45) per share, in the same period last
          year.
     • Cash Flow: Net cash used in operations was $(0.5) million, compared to $(7.2) million in the same period last year. Free cash flow was $(0.5)
          million or (1%) of total revenue compared to $(8.1) million, or (21%) of total revenue in the same period last year.
     • Cash and Cash Equivalents: Cash and cash equivalents were $164.6 million as of September 30, 2022.
Non-GAAP gross profit, non-GAAP gross margin, non-GAAP operating loss, non-GAAP operating loss margin, non-GAAP net loss, non-GAAP
net loss per share, free cash flow and free cash flow margin are non-GAAP financial measures. Additional information on UserTesting’s reported
results, including a reconciliation of the non-GAAP financial measures to their most comparable GAAP measures, is included in the financial tables
below. Our definition for each non-GAAP measure used is provided below, however a limitation of non-GAAP financial measures is that they do not
have uniform definitions. Accordingly, our definitions for non-GAAP measures used will likely differ from similarly titled non-GAAP measures used
by other companies thereby limiting comparability. In addition, the utility of free cash flow as a measure of our liquidity is limited as it does not
represent the total increase or decrease in our cash and cash equivalents balance for a given period.
UserTesting Acquisition by Thoma Bravo and Sunstone Partners
UserTesting also announced today that it had entered into a definitive agreement to be acquired by Thoma Bravo, a leading software investment
firm, and significant minority owner Sunstone Partners, for $7.50 per share, in an all-cash transaction valued at approximately $1.3 billion. The offer
represents a premium of approximately 94% over UserTesting’s closing stock price on October 26, 2022, the last full trading day prior to the
transaction announcement, and a premium of approximately 97% over the volume weighted average price of UserTesting’s shares for the 30 trading
days ended October 26, 2022. The transaction is currently expected to close in the first half of 2023, subject to customary closing conditions,
including approval by UserTesting’s stockholders and regulatory approvals. A copy of the press release can be found by visiting the Investor
Relations section of the UserTesting website: https://ir.usertesting.com/.
In light of the announced transaction with Thoma Bravo and Sunstone Partners, UserTesting does not plan to host an earnings call. In addition,
UserTesting will not provide forward-looking guidance as a result of the pending transaction.


About UserTesting
UserTesting (NYSE: USER) has fundamentally changed the way organizations get insights from customers with fast, opt-in feedback and
experience capture technology. The UserTesting® Human Insight Platform taps into our global network of real people and generates video-based
recorded experiences, so anyone in an organization can directly ask questions, hear what users say, see what they mean, and understand what it’s
actually like to be a customer. Unlike approaches that track user behavior then try to infer what that behavior means, UserTesting reduces
guesswork and brings customer experience data to life with human insight. UserTesting has over 2,500 customers, including more than half of the
world’s top 100 most valuable brands according to Forbes. UserTesting is headquartered in San Francisco, California. To learn more, visit
www.usertesting.com.
Additional Information and Where to Find It
In connection with the proposed transaction, UserTesting will file relevant materials with the Securities and Exchange Commission (SEC), including
a preliminary and definitive proxy statement. Promptly after filing the definitive proxy statement, UserTesting will mail the definitive proxy statement
and a proxy card to UserTesting stockholders. USERTESTING’S STOCKHOLDERS ARE URGED TO READ THE DEFINITIVE PROXY
STATEMENT (INCLUDING ANY AMENDMENTS OR SUPPLEMENTS THERETO) CAREFULLY WHEN IT BECOMES AVAILABLE BEFORE
MAKING ANY VOTING OR INVESTMENT DECISION WITH RESPECT TO THE PROPOSED TRANSACTION BECAUSE IT WILL CONTAIN
IMPORTANT INFORMATION ABOUT THE PROPOSED TRANSACTION AND THE PARTIES TO THE PROPOSED TRANSACTION.
Stockholders of UserTesting will be able to obtain a free copy of these documents, when they become available, at the website maintained by the
SEC at www.sec.gov or free of charge at https://ir.usertesting.com.
Participants in the Solicitation
UserTesting and certain of its directors and executive officers may be deemed to be participants in the solicitation of proxies in respect of the
proposed transaction. Information regarding UserTesting’s directors and executive officers, including a description of their direct interests, by
security holdings or otherwise, is contained in UserTesting’s proxy statement for its 2022 annual meeting of stockholders, which was filed with the
SEC on April 20, 2022. UserTesting stockholders may obtain additional information regarding the direct and indirect interests of the participants in
the solicitation of proxies in connection with the proposed transaction, including the interests of UserTesting directors and executive officers in the
transaction, which may be different than those of UserTesting stockholders generally, by reading the proxy statement and any other relevant
documents that are filed or will be filed with the SEC relating to the proposed transaction. You may obtain free copies of these documents using the
sources indicated above.


Forward-Looking Statements
This press release by UserTesting, Inc. (“UserTesting,” the “Company,” “we,” “us,” or similar terms) contains forward-looking statements. These
statements may relate to, but are not limited to, statements about the consummation of the proposed transaction between UserTesting and Thoma
Bravo and the anticipated benefits thereof, UserTesting’s market size and growth opportunities, plans for future operations, competitive position,
            Case 3:23-cv-01320-AMO                         Document 71-10                   Filed 11/07/24             Page 3 of 7

technological capabilities, and strategic relationships, as well as assumptions relating to the foregoing. Forward-looking statements are inherently
subject to risks and uncertainties, some of which cannot be predicted or quantified. In some cases, you can identify forward-looking statements by
terminology such as “believe,” “may,” “will,” “potentially,” “estimate,” “continue,” “anticipate,” “intend,” “could,” “would,” “project,” “target,”
“plan,” “expect,” and similar expressions. You should not put undue reliance on any forward-looking statements. There are a significant number of
factors that could cause our actual results, performance, or achievement to differ materially and adversely from the statements made in this press
release, including: the failure to satisfy any of the conditions to the consummation of the proposed transaction, including the adoption of the
merger agreement by UserTesting’s stockholders and the receipt of certain regulatory approvals; the occurrence of any event, change or other
circumstance that could give rise to the termination of the merger agreement; the outcome of any legal proceedings that may be instituted against
UserTesting related to the merger agreement or the proposed transaction; unexpected costs, charges or expenses resulting from the proposed
transaction; intense competition in our market; our ability to attract new customers and renew and expand sales to existing customers; our ability to
effectively introduce enhancements to our platform, including new products, services, features, and functionality, that achieve market acceptance
or keep pace with technological developments; quarterly fluctuations in operating results; our ability to maintain data privacy and data security;
our limited operating history under our current business and pricing models; our ability to effectively manage growth; our ability to expand
internationally; unfavorable conditions in our industry and other general market, political, economic, and business conditions, including those
related to the continuing impact of COVID-19, heightened inflation and rising interest rates. For more information regarding the risks and
uncertainties that could cause actual results, performance, or achievement to differ materially and adversely from those expressed or implied in
these forward-looking statements, as well as risks relating to our business in general, we refer you to the “Risk Factors” section of our SEC filings,
including our Quarterly Report on Form 10-Q for the quarter ended June 30, 2022 filed on August 4, 2022, our Quarterly Report on Form 10-Q to be
filed for the quarter ended September 30, 2022, and other filings and reports that we may file from time to time with the SEC, copies of which are
available on our website at https://ir.usertesting.com and on the SEC’s website at www.sec.gov. You should not rely on these forward-looking
statements, as actual outcomes and results may differ materially from those contemplated by these forward-looking statements as a result of such
risks and uncertainties. All forward-looking statements in this press release are based on information available to us as of the date hereof, and we
do not assume any obligation to update the forward-looking statements provided to reflect events that occur or circumstances that exist after the
date of this press release or to reflect new information or the occurrence of unexpected events, except as required by law. We may not actually
achieve the plans, intentions, or expectations disclosed in our forward-looking statements, and you should not place undue reliance on our
forward-looking statements.
Non-GAAP Financial Measures
To supplement our financial results, which are prepared and presented in accordance with GAAP, we use certain non-GAAP financial measures, as
described below, to understand and evaluate our core performance. These non-GAAP measures, which may be different from similarly-titled
measures used by other companies, are presented to enhance investors’ overall understanding of our financial performance and should not be
considered a substitute for, or superior to, the financial information prepared and presented in accordance with GAAP.
We believe that these non-GAAP financial measures provide useful information about our financial performance, enhance the overall
understanding of our past performance and future prospects, and allow for greater transparency with respect to important metrics used by our
management for financial and operational decision- making. We are presenting these non-GAAP measures to assist investors in seeing our financial
performance using a management view, and because we believe that these measures provide an additional tool for investors to use in comparing
our core financial performance over multiple periods with other companies in our industry. You should consider non-GAAP results alongside other
financial performance measures and results presented in accordance with GAAP. In addition, in evaluating non-GAAP results, you should be aware
that in the future we will incur expenses such as those that are the subject of adjustments in deriving non-GAAP results and you should not infer
from our non-GAAP results that our future results will not be affected by these expenses or any unusual or non-recurring items.


Non-GAAP gross profit, non-GAAP operating loss, non-GAAP net loss, non-GAAP net loss per share: We define these non-GAAP financial
measures as the respective GAAP measures, excluding stock-based compensation expenses, amortization of acquired intangible assets, reversals of
prior sales and use tax accruals and related penalties and interest, restructuring expenses and the tax impact of the non-GAAP adjustments. We
believe it is useful to exclude these expenses in order to better understand the long-term performance of our core business and to facilitate
comparison of our results over multiple periods and to those of peer companies.
Non-GAAP gross margin and non-GAAP operating loss margin: Non-GAAP gross margin is calculated as non-GAAP gross profit divided by total
revenue. Non-GAAP operating loss margin is calculated as non-GAAP operating loss divided by total revenue. We use these non-GAAP financial
measures in conjunction with traditional GAAP measures to evaluate our financial performance.
Free cash flow and free cash flow margin: We define free cash flow as net cash used in operating activities less cash used for purchases of
property and equipment and capitalized internal-used software. Free cash flow margin is calculated as free cash flow divided by total revenue. We
believe that these non-GAAP financial measures are useful indicators of liquidity that provides information to management and investors, even if
negative, about the amount of cash generated (or used) in our operations that, after investments in property and equipment, can be used for
strategic opportunities and strengthening our balance sheet. However, free cash flow is not a substitute for cash used in operating activities. The
utility of free cash flow and free cash flow margin is limited as these measures do not reflect our future contractual commitments and do not
represent the total increase or decrease in our cash balance for any given period.
Non-GAAP Supplemental Financial Information
Calculated Billings: We define calculated billings, a non-GAAP financial measure, as total revenue plus the change in contract liabilities from the
beginning to the end of the period. We typically invoice our customers annually in advance, and to a lesser extent quarterly in advance, for
subscriptions to our platform. Calculated billings in any particular period reflect amounts invoiced to customers.


                                                              UserTesting, Inc.
                                                Condensed Consolidated Statements of Operations
                                                   (in thousands, except per share amounts)
                                                                  (unaudited)
                                                                              Three Months Ended                       Nine Months Ended
                                                                                 September 30,                           September 30,
                                                                            2022              2021                    2022            2021
Revenue
Subscription                                                             $         47,517    $         35,951    $        135,900   $         96,883
Professional services                                                               1,891               2,694               6,922              8,031
Total revenue                                                                      49,408              38,645             142,822            104,914
            Case 3:23-cv-01320-AMO                           Document 71-10                   Filed 11/07/24            Page 4 of 7

Cost of revenue
Subscription                                                                          8,501               7,388              24,607             21,230
Professional services                                                                 2,402               2,124               7,114              6,247
Total cost of revenue                                                                10,903               9,512              31,721             27,477
Gross profit                                                                         38,505              29,133             111,101             77,437
Operating expenses:
Sales and marketing                                                                  29,662              23,384              93,049             62,512
Research and development                                                             10,804               9,543              33,774             29,128
General and administrative                                                           10,980               6,492              30,981             19,817
Restructuring                                                                         1,385                  —                1,385                 —
Total operating expenses                                                             52,831              39,419            159,189             111,457
Loss from operations                                                                (14,326)            (10,286)           (48,088)            (34,020)
Interest income, net                                                                     24                  29                  44                103
Other income (expense), net                                                            (582)                896                (562)               683
Loss before provision for income taxes                                              (14,884)             (9,361)           (48,606)            (33,234)
Provision for income taxes                                                              307                 275                 508                569
Net loss                                                                  $         (15,191) $           (9,636) $          (49,114) $         (33,803)
Net loss per share attributable to common stockholders, basic and
diluted(1)                                                                $           (0.11) $            (0.49) $            (0.34) $           (1.80)
Weighted-average shares used in computing net loss per share
attributable to common stockholders, basic and diluted(1)                           144,211              19,558            143,347              18,798

(1) Includes the impact of (i) the issuance of shares of common stock by UserTesting in its initial public offering, and (ii) the conversion of all then
   outstanding shares of convertible preferred stock into shares of common stock in connection with the initial public offering, in the weighted-
   average shares calculation weighted from the date of the initial public offering.


Stock-based Compensation Expense
The following table summarizes total stock-based compensation expense included in cost of revenue and operating expenses (in thousands):
                                                                               Three Months Ended                     Nine Months Ended
                                                                                   September 30,                         September 30,
                                                                             2022                 2021              2022                2021
Cost of revenue:
Subscription                                                           $              211 $                11 $              553 $              30
Professional services                                                                 239                  78                701               160
Operating expenses:
Sales and marketing                                                                 2,920                 404             9,057              1,079
Research and development                                                            1,384                 237             4,574                620
General and administrative                                                          2,562               2,057              7,811             3,030
                                                                       $            7,316 $             2,787 $          22,696 $            4,919
Amortization of Acquired Intangible Assets
The following table summarizes total amortization of acquired intangible assets included in cost of revenue and operating expenses (in thousands):
                                                                               Three Months Ended                      Nine Months Ended
                                                                                   September 30,                         September 30,
                                                                             2022                 2021              2022                2021
Cost of revenue:
Subscription                                                           $               21 $               163 $               63 $             492
Operating expenses:
Sales and marketing                                                                    —                   47                 —                144
Research and development                                                               43                  43                128               130
                                                                       $               64 $               253 $              191 $             766


                                                                UserTesting, Inc.
                                                      Condensed Consolidated Balance Sheets
                                                                 (in thousands)
                                                                   (unaudited)
                                                                                                                   September 30,       December 31,
                                                                                                                       2022                2021
Assets
Current assets:
Cash and cash equivalents                                                                                         $        164,618    $        178,430
Accounts receivable, net                                                                                                    34,058              47,973
Costs capitalized to obtain revenue contracts, current                                                                       8,621               8,116
Prepaid expenses and other current assets                                                                                    8,512               6,045
Total current assets                                                                                                       215,809             240,564
Property and equipment, net                                                                                                  2,916               3,257
Operating lease right-of-use assets, net                                                                                    12,852              16,401
Intangible assets, net                                                                                                         449                 640
Goodwill                                                                                                                     8,785               8,785
Costs capitalized to obtain revenue contracts, non-current                                                                  12,256              12,941
           Case 3:23-cv-01320-AMO                        Document 71-10              Filed 11/07/24           Page 5 of 7

Other long-term assets                                                                                              808               540
Total assets                                                                                              $     253,875     $     283,128
Liabilities and Stockholders’ Equity
Current liabilities:
Accounts payable                                                                                          $       1,524     $       1,544
Contract liabilities                                                                                             96,831            90,952
Operating lease liabilities, current                                                                              5,219             5,271
Accrued expenses and other current liabilities                                                                   12,536            21,799
Total current liabilities                                                                                       116,110           119,566
Operating lease liabilities, non-current                                                                          9,346            12,996
Other long-term liabilities                                                                                         887               887
Total liabilities                                                                                               126,343           133,449
Stockholders’ equity:
Preferred stock                                                                                                       —                —
Common stock and capital in excess of par value                                                                  379,848          352,881
Accumulated deficit                                                                                             (252,316)        (203,202)
Total stockholders’ equity                                                                                       127,532          149,679
Total liabilities and stockholders’ equity                                                                $      253,875 $        283,128



                                                            UserTesting, Inc.
                                              Condensed Consolidated Statements of Cash Flows
                                                              (in thousands)
                                                                (unaudited)
                                                                                                               Nine Months Ended
                                                                                                                  September 30,
                                                                                                              2022             2021
Cash flows from operating activities:
Net loss                                                                                                  $      (49,114) $       (33,803)
Adjustments to reconcile net loss to net cash used in operating activities:
Depreciation and amortization                                                                                     1,139               1,204
Stock-based compensation expense                                                                                 22,696               4,919
Provision for allowance for doubtful accounts                                                                       687                 154
Amortization of costs capitalized to obtain revenue contracts                                                     6,886               4,757
Changes in operating assets and liabilities:
Accounts receivable                                                                                               13,228           (7,323)
Costs capitalized to obtain revenue contracts                                                                     (6,706)          (8,969)
Prepaid expenses and other assets                                                                                 (2,734)          (2,877)
Accounts payable                                                                                                      (9)             366
Accrued liabilities                                                                                               (9,306)          (1,769)
Contract liabilities                                                                                               5,879           16,784
Other liabilities                                                                                                     86              552
Net cash used in operating activities                                                                            (17,268)         (26,005)
Cash flows from investing activities:
Purchase of property and equipment                                                                                 (713)           (1,955)
Purchase of intangible assets                                                                                        —               (150)
Net cash used in investing activities                                                                              (713)           (2,105)
Cash flows from financing activities:
Payment of offering costs                                                                                          (102)           (4,025)
Payment of deferred purchase consideration                                                                           —             (1,766)
Proceeds from issuance of common stock upon exercise of stock options                                             2,244             1,822
Proceeds from issuance of common stock under the employee stock purchase plan                                     2,027                —
Net cash provided by (used in) financing activities                                                               4,169            (3,969)
Net decrease in cash and cash equivalents                                                                       (13,812)          (32,079)
Cash and cash equivalents, beginning of period                                                                  178,430            96,972
Cash and cash equivalents, end of period                                                                  $     164,618 $          64,893



                                                                UserTesting, Inc.
                                      Reconciliation of GAAP to Non-GAAP Gross Profit and Gross Margin
                                                              (dollars in thousands)
                                                                    (unaudited)
                                                        Three Months Ended                                Three Months Ended
                                                        September 30, 2022                                September 30, 2021
                                                           Professional                                      Professional
                                         Subscription        Services            Total       Subscription       Services        Total
GAAP gross profit                       $        39,016 $             (511) $        38,505 $       28,563 $           570 $       29,133
GAAP gross margin                                    82%               (27)%             78%            79%              21%           75%
Adjustments:
Stock-based compensation expense                   211             239              450              11               78                89
Amortization of acquired intangible
                  Case 3:23-cv-01320-AMO                                       Document 71-10                             Filed 11/07/24                      Page 6 of 7

assets                                                                21               —                                  21           163               —                                   163
Non-GAAP gross profit                                     $       39,248 $           (272) $                          38,976 $      28,737 $            648 $                             29,385
Non-GAAP gross margin                                                 83%             (14)%                               79%           80%              24%                                  76%
                                                                         Nine Months Ended                                                 Nine Months Ended
                                                                         September 30, 2022                                                September 30, 2021
                                                                            Professional                                                      Professional
                                                           Subscription       Services                            Total      Subscription       Services                                Total
GAAP gross profit                                         $      111,293 $           (192) $                        111,101 $       75,653 $          1,784 $                              77,437
GAAP gross margin                                                     82%              (3)%                              78%            78%              22%                                   74%
Adjustments:
Stock-based compensation expense                                         553                  701                     1,254                           30                 160                    190
Amortization of acquired intangible
assets                                                                  63                     —                         63                      492                       —                     492
Non-GAAP gross profit                                     $        111,909 $                  509  $                112,418 $                 76,175 $                  1,944 $               78,119
Non-GAAP gross margin                                                   82%                     7%                       79%                      79%                      24%                    74%


                                                                                   UserTesting, Inc.
                                                              Reconciliation of GAAP to Non-GAAP Operating Expenses
                                                                                 (dollars in thousands)
                                                                                       (unaudited)
                                          Three Months Ended September 30, 2022                                                        Three Months Ended September 30, 2021
                                      Research          General                                Total                                  Research         General                              Total
                  Sales and              and              and                                Operating            Sales and              and              and                             Operating
                  Marketing          Development    Administrative     Restructuring         Expenses             Marketing          Development     Administrative     Restructuring     Expenses
GAAP
expenses      $       29,662     $         10,804     $        10,980    $      1,385    $        52,831      $        23,384    $          9,543       $      6,492     $         —      $    39,419
Adjustments:
Stock-based
compensation
expense                (2,920)              (1,384)            (2,562)             —                (6,866)              (404)               (237)            (2,057)              —           (2,698)
Amortization
of acquired
intangible
assets                     —                   (43)                —               —                   (43)               (47)                 (43)               —                —              (90)
Reversal of
sales and use
tax accruals,
penalties and
interest                   —                    —                  —               —                    —                  —                     —             2,122               —            2,122
Restructuring              —                    —                  —           (1,385)              (1,385)                —                     —                —                —               —
Non-GAAP
expenses      $       26,742     $          9,377     $         8,418    $         —     $        44,537      $        22,933    $          9,263       $      6,557     $         —      $    38,753
Non-GAAP
expenses as a
% of revenue              5 4%                  1 9%             1 7%              —%                  9 0%               5 9%                 2 4%              1 7%               —%      100%
                                           Nine Months Ended September 30, 2022                                                         Nine Months Ended September 30, 2021
                                      Research          General                                Total                                  Research          General                          Total
                  Sales and              and              and                                Operating            Sales and              and              and                          Operating
                  Marketing          Development     Administrative    Restructuring         Expenses             Marketing          Development     Administrative     Restructuring  Expenses
GAAP
expenses      $       93,049     $         33,774     $        30,981    $      1,385    $      159,189       $        62,512    $         29,128       $     19,817     $         —      $ 111,457
Adjustments:
Stock-based
compensation
expense                (9,057)              (4,574)            (7,811)             —             (21,442)              (1,079)               (620)            (3,030)              —           (4,729)
Amortization
of acquired
intangible
assets                     —                 (128)                 —               —                 (128)               (144)               (130)                —                —             (274)
Reversal of
sales and use
tax accruals,
penalties and
interest                   —                    —               1,157              —                 1,157                 —                     —             2,122               —            2,122
Restructuring              —                    —                  —           (1,385)              (1,385)                —                     —                —                —               —
Non-GAAP
expenses      $       83,992     $         29,072     $        24,327    $         —     $      137,391       $        61,289    $         28,378       $     18,909     $         —      $ 108,576
Non-GAAP
expenses as a
% of revenue              5 9%                 2 0%               1 7%             —%                  9 6%               5 8%                   2 7%            1 8%              —%            103%




                                                                           UserTesting, Inc.
                                             Reconciliation of GAAP to Non-GAAP Operating Loss and Operating Loss Margin
                                                                         (dollars in thousands)
                                                                               (unaudited)
                                                                                       Three Months Ended                Nine Months Ended
                                                                                           September 30,                   September 30,
                                                                                      2022              2021          2022              2021
GAAP operating loss                                                             $        (14,326) $        (10,286) $    (48,088) $        (34,020)
GAAP operating loss margin                                                                   (29)%             (27)%         (34)%             (32)%
Adjustments:
Stock-based compensation expense                                                                              7,316                      2,787                  22,696                        4,919
             Case 3:23-cv-01320-AMO                         Document 71-10                 Filed 11/07/24            Page 7 of 7

Amortization of acquired intangible assets                                           64               253                 191               766
Reversal of sales and use tax accruals, penalties and interest                       —             (2,122)             (1,157)           (2,122)
Restructuring                                                                    1,385                 —                1,385                —
Non-GAAP operating loss                                               $         (5,561) $          (9,368) $          (24,973) $        (30,457)
Non-GAAP operating loss margin                                                      (11)%             (24)%               (17)%             (29)%
                                                                 UserTesting, Inc.
                                      Reconciliation of GAAP to Non-GAAP Net Loss and Net Loss Per Share
                                                      (in thousands, except per share amounts)
                                                                     (unaudited)
                                                                                 Three Months Ended                   Nine Months Ended
                                                                                     September 30,                       September 30,
                                                                               2022               2021               2022            2021
GAAP net loss                                                            $         (15,191) $          (9,636) $        (49,114) $      (33,803)
Adjustments:
Stock-based compensation expense                                                    7,316              2,787             22,696            4,919
Amortization of acquired intangible assets                                              64               253                191              766
Reversal of sales and use tax accruals, penalties and interest                          —             (2,122)            (1,157)          (2,122)
Restructuring                                                                       1,385                 —               1,385               —
Non-GAAP net loss                                                       $          (6,426) $          (8,718) $         (25,999) $       (30,240)
GAAP net loss per share, basic and diluted                              $            (0.11) $          (0.49) $           (0.34) $         (1.80)
Adjustments to GAAP net loss per share:
Stock-based compensation expense                                                     0.06               0.14               0.16             0.26
Amortization of acquired intangible assets                                             —                0.01                 —              0.04
Reversal of sales and use tax accruals, penalties and interest                         —               (0.11)             (0.01)           (0.11)
Restructuring                                                                        0.01                 —                0.01               —
Non-GAAP net loss per share, basic and diluted                          $           (0.04) $           (0.45) $           (0.18) $         (1.61)
Weighted-average shares used in computing non-GAAP net loss per
share, basic and diluted                                                         144,211             19,558             143,347           18,798



                                                              UserTesting, Inc.
                                                    Non-GAAP Free Cash Flow Reconciliation
                                                            (dollars in thousands)
                                                                  (unaudited)
                                                                          Three Months Ended                         Nine Months Ended
                                                                              September 30,                             September 30,
                                                                         2022               2021                   2022              2021
GAAP net cash used in operating activities                         $           (487) $          (7,159) $             (17,268) $        (26,005)
Add: Purchases of property and equipment                                         (18)             (984)                  (713)           (1,955)
Non-GAAP free cash flow                                            $           (505) $          (8,143) $             (17,981) $        (27,960)
Non-GAAP free cash flow margin                                                    (1)%             (21)%                  (13)%             (27)%
                                                              UserTesting, Inc.
                                                  Non-GAAP Supplemental Financial Information
                                                            (dollars in thousands)
                                                                  (unaudited)
                                                                            Three Months Ended                        Nine Months Ended
                                                                                 September 30,                           September 30,
                                                                           2022               2021                  2022              2021
Revenue                                                              $          49,408 $          38,645 $             142,822 $        104,914
Increase in contract liabilities                                                (2,962)            5,346                 5,879           16,784
Calculated billings                                                  $          46,446 $          43,991 $             148,701 $        121,698
Year-over-year calculated billings growth rate                                        6%              49%                   22%              50%
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